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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

YESENIA JAVIER MARIA (A.K.A. WANDA), individually
and on behalf of others similarly situated,

 

No. 1:20-cv-3707-JPO
Plaintiff,

Vv.

EL MAMBI REST CORP. (D/B/A MAMBI), EL MAMBIA
STEAKHOUSE CORP. (D/B/A MAMBI), RAUL ACOSTA,
RAUL RYAN ACOSTA A.K.A RAULITO ACOSTA,
GABRIEL CRUZ-CAPOTE, RAFAELINA (A.K.A NINA)
BAUTISTA and GIOVANNI BAUTISTA

Defendants.

 

 

REPLY MEMORANDUM IN FURTHER SUPPORT OF DEFENDANTS’
MOTION TO DISMISS THE AMENDED COMPLAINT

Defendants El] Mambi Rest Corp., El Mambi Steakhouse Corp., Raul Acosta (herein after
“Acosta Sr.”), Raul Ryan Acosta (herein after “Acosta Jr.”), Gabriel Cruz-Capote (herein after
“Cruz-Capote”), Rafaelina Bautista and Giovanni Bautista respectfully submit this memorandum
of law in further support of their motion to dismiss Plaintiffs’ Amended Complaint pursuant to
Federal Rule of Civil Procedure 12(b)(6).

ARGUMENT

I. PLAINTIFF FAILED TO ADEQUATELY PLEAD UNPAID OVERTIME AND
MINIMUM WAGE CLAIMS UNDER THE FLSA

Plaintiff's efforts to shift the pleading standard of proof to Defendants with respect to her
overtime and minimum wage claims are unavailing. While it is true that the standard of review
on a motion to dismiss is weighted in favor the plaintiff (Nicholas v Mhoney, 608 F. Supp. 2d
526, 529 (SDNY 2009)) there is still a standard.

In this case the standard is that plaintiffs are required “to state a claim for relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
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Twombly, 550 U.S. 544, 570 (2007)). Here, Plaintiff has utterly failed to meet that standard.
Moreover, rather than distinguishing her allegations from those in Dejesus v. HF Mgmt. Services,
LLC, 726 F.3d 85, 86 (2d Cir. 2013); or Lundy v Catholic Health Sys. Of Long Island, Inc. 711 F.3d
106 (2d Cir. 20103) Plaintiff instead makes claims that are identical in their vagueness.

To be clear her only allegation for overtime is that she regularly worked 41 hours per
week. Never 42 and never 40.5. Comp. § 49. Further, while she does not recollect which days
she would work an extra half hour, she is positive that it happened every week on varying days.
Comp. § 49. Moreover, she does not even feign an attempt at providing a reason for working an
extra half hour two days out of every week for no reason. She just assures us that it happened,
every week, for 6 years, on varying days, and for no reason.

The fact that Plaintiff knows that shifts started at one time and ended at another, that if
you add them up it adds up to 40, and that she recalls that she was compensated for that time
(Plaintiff's opp. at 5)' does not move the needle one iota with respect to properly alleging
overtime claims. Nothing in those statements makes it “plausible” that Plaintiff was
uncompensated at the overtime rate for any hours worked over 40. Moreover, despite Plaintiff’s
arguments, it is Plaintiff's burden to show plausibility at this stage of the litigation. Plaintiff
cannot simply shift that burden because it is inconvenient for her.

II, PLAINTIFF HAS FAILED TO ADEQUATELY PLEAD THAT DEFENDANTS
ARE “EMPLOYERS”

While Plaintiff wants to play fast and loose with respect to naming Defendants and
keeping them on the hook in this action, she very well knows differentiating claims is very

important. If Mr. Acosta, Sr. and El Mambi Rest Corp. are found not to be employers during the

 

1 References to (Plaintiff's opp at__) refers to the Memorandum of Law in Opposition to Defendants’ Motion to
Dismiss the First Amended Complaint filed by Plaintiff on March 2, 2021.

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most recent two years of Plaintiff's employment, as they should be based on Plaintiff's own
allegations, then that means there can be no Federal claims against them for that period. It is not
just about “the apportionment of liability” for those claims, simply put there would be no liability
for those claims. Moreover, since there are no Federal claims against Mr. Acosta, Sr., those
claims should be dealt with in State Court where they belong, to the extent that any can be
properly alleged, which as demonstrated above, they cannot.

Plaintiff's conclusory fast and lose statements with respect to El Mambi Steakhouse
Corp., and Rafaelina and Giovani Batista should be equally scrutinized and dismissals granted.
I. THE COURT SHOULD DECLINE TO APPLY A THREE-YEAR STATUTE OF

LIMITATIONS FOR CLAIMS AGAINST RAUL ACOSTA AND EL MAMBI REST

CORP.

Plaintiff has failed to adequately plead her claims under the FLSA or the New York Labor
Laws, let alone plead willfulness sufficient to extend the statute of limitations for an FLSA claim
from two to three years. Indeed, notwithstanding Plaintiff's purposeful misreading of the wage
statement provided to claim that it proves that Plaintiff was paid improperly, to the extent there is
even a wage statement to evaluate suggests that these Defendants were trying to comply with the
labor laws and therefore their actions could not be willful. Thus, the two-year statute of
limitations should remain intact and all federal claims against these two parties should be
dismissed.

IV. THE COURT SHOULD DECLINE TO EXERCISE SUPPLEMENTAL
JURISDICTION OVER THE STATE LAW CLAIMS

Given that Plaintiff has failed to adequately allege employer status at least as against Raul
Acosta, Sr. and E] Mambi Rest. Corp, as well as overtime and minimum wage violations with
respect to any of the other parties, as required by Lundy and its progeny, this Court should

decline to exercise supplemental jurisdiction over the state law claims.
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CONCLUSION
For the foregoing reasons, the Court should dismiss Plaintiffs FLSA and NYLL claims
with prejudice against Defendants El Mambi Rest Corp., El Mambi Steakhouse Corp., Raul
Acosta, Raul Ryan Acosta, Gabriel Cruz-Capote, Rafaelina Bautista, and Giovani Bautista as
plead in the Amended Complaint in their entirety and grant any and all further relief as may be
just and proper.

Dated: New York, New York
March 9, 2021

 

<a
By: Martin-£. Restituyy/Esq.

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